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                            UNITED STATES DISTRICT COURT

                              DISTRICT OF MASSACHUSETTS




 COMMUNITY ECONOMIC
 DEVELOPMENT CENTER OF
 SOUTHEASTERN MASSACHUSETTS,

                        Plaintiff,

 vs.
                                                     Civil Action No.: _________________
 INTERNAL REVENUE SERVICE, and
                                                     COMPLAINT
 SOCIAL SECURITY ADMINISTRATION,

                        Defendant.




                                          COMPLAINT

       1.      For decades, the Community Economic Development Center of Southeastern

Massachusetts (“CEDC”) has assisted immigrant residents of the New Bedford region with tax

filing as a Volunteer Income Tax Assistance site. In recent years, it has even taken further

certifications to assist taxpayers who are ineligible for Social Security Numbers to obtain

Individual Taxpayer Identification Numbers.

       2.      Throughout this assistance, CEDC repeated representations by the Internal

Revenue Service (“IRS”) that immigrant taxpayers did not need to fear that their information

would be shared with immigration enforcement agencies absent judicial supervision, thanks to

longstanding statutory protections for the privacy of tax-related information.

       3.      Earlier this year, amid the Trump administration’s rush to deport as many people

as possible from the United States, the IRS reversed this longstanding promise. The Department


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of Treasury and Department of Homeland Security entered into a Memorandum of

Understanding providing for the IRS to share taxpayers’ information with Immigration and

Customs Enforcement (“ICE”). While that MOU has been revealed in the course of litigation,

important details about the nature of this information-sharing were relegated to a separate

“implementation agreement.” That implementation agreement remains undisclosed.

       4.      Meanwhile, the press has reported on parallel agreements between the Social

Security Administration (“SSA”) and ICE providing for sharing of immigrant taxpayers and

workers with ICE as well. Although at least 90,000 people’s information has been shared under

these agreements, they also remain hidden from public view.

       5.      Seeking to understand the nature of these agreements and educate its members

and the community more broadly about this data-sharing, CEDC submitted Freedom of

Information Act (“FOIA”) requests to the IRS, the SSA, and ICE. Although CEDC sought

expedited processing, reflecting its community’s urgent concern, no records have been disclosed.

       6.      Accordingly, CEDC now turn to this Court for assistance in securing these public

records.

                                  JURISDICTION AND VENUE

       7.      This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. §§ 1331, 2201, and 2202.

       8.      Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

§ 1391(e).

       9.      Defendants have failed to comply with the applicable time-limit provisions of

FOIA. Accordingly, CEDC is deemed to have exhausted its administrative remedies pursuant to

5 U.S.C. § 552(a)(6)(C)(i) and is now entitled to an injunction ordering the production of

improperly withheld records.


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                                           PARTIES

        10.     Plaintiff CEDC is a 501(c)(3) nonprofit organization based in New Bedford,

Massachusetts. CEDC was formed to support the economic development and self-sufficiency of

low- and moderate-income households across its region. Over the past several decades, it has

supported both native-born and immigrant community members with tax filing, workforce

development, placemaking, cultural programming, and other services.

        11.     Defendant Internal Revenue Service is a component of the Department of

Treasury, which is a department of the executive branch of the U.S. government, and an agency

of the federal government within the meaning of 5 U.S.C. § 552(f)(1). The IRS is headquartered

in Washington, DC, and it has possession, custody, and control of the records that CEDC

requested.

        12.     Defendant Social Security Administration is an independent agency within the

executive branch of the U.S. government. As such, it is an agency of the federal government with

the meaning of 5 U.S.C. § 552(f)(1). The SSA is headquartered in Woodlawn, MD, and it has

possession, custody, and control of the records that CEDC requested.

                                   STATEMENT OF FACTS
        13.     On May 30, 2025, CEDC submitted FOIA requests relating to the agreements

providing for information-sharing between IRS and SSA, on one hand, and ICE, on the other

hand.

        IRS

        14.     CEDC submitted a FOIA request to IRS seeking “The implementation agreement

pursuant to the April 7, 2025 Memorandum of Understanding, between the U.S. Treasury

Department and U.S. Department of Homeland Security for the Exchange of Information for




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Nontax Criminal Enforcement, which was entered into between April 7, 2025 and April 21,

2025.” A true and accurate copy of this request is attached to this complaint as Exhibit A.

       15.     The FOIA request to the IRS sought expedited processing, grounded in the

“compelling need” for the records, based on the urgency to inform the public about the agency’s

data-sharing plans.

       16.     The IRS acknowledged receipt of the FOIA request and assigned it tracking

number 2025-15251.

       17.     The FOIA requires the agency to make a decision regarding an expedited

processing request within ten days of receiving the request. 5 U.S.C. § 552

       18.     As of the filing of this complaint, the IRS has not made a determination regarding

expedited processing of this request.

       SSA

       19.     CEDC submitted a FOIA request to SSA seeking “The agreement or agreements

reached during or after February 2025 between Social Security Administration and Immigration

and Customs Enforcement (or Department of Homeland Security on behalf of Immigration and

Customs Enforcement, as reported in the New York Times. See Alexandra Berzon, et al., Social

Security Lists Thousands of Migrants as Dead to Prompt Them to ‘Self-Deport’, N.Y. Times,

April 10, 2025.” A true and accurate copy of this request is attached to this complaint as Exhibit

B.

       20.     The FOIA request to the IRS sought expedited processing, grounded in the

“compelling need” for the records, based on the urgency to inform the public about the agency’s

data-sharing plans.

       21.     The SSA acknowledged receipt of the FOIA request and assigned it tracking

number 2025-FOIA-02022.


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       22.     The FOIA requires the agency to make a decision regarding an expedited

processing request within ten days of receiving the request. 5 U.S.C. § 552

       23.     As of the filing of this complaint, the SSA has not made a determination regarding

expedited processing of this request.

                                      COUNT I (IRS)
                             Violation of FOIA, 5 U.S.C. § 552
                         Wrongful Withholding of Responsive Records

       24.     CEDC repeats the allegations in the foregoing paragraphs and incorporates them

as though fully set forth herein.

       25.     CEDC properly requested a record within the possession, custody, and control of

Defendant IRS.

       26.     Defendant IRS did not make a determination whether to grant expedited

processing to CEDC for this request, notwithstanding the urgency to inform the public about the

agency’s approach to sharing information with immigration enforcement agencies.

       27.     Defendant IRS has effectively withheld the requested record.

       28.     Defendant IRS’s failure to provide this record violates FOIA.

       29.     Plaintiff CEDC is therefore entitled to declaratory and injunctive relief requiring

Defendant IRS to promptly produce the implementation agreement.

                                     COUNT II (SSA)
                             Violation of FOIA, 5 U.S.C. § 552
                         Wrongful Withholding of Responsive Records

       30.     CEDC repeats the allegations in the foregoing paragraphs and incorporates them

as though fully set forth herein.

       31.     CEDC properly requested record within the possession, custody, and control of

Defendant SSA.


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       32.         Defendant SSA did not make a determination whether to grant expedited

processing to CEDC for this request, notwithstanding the urgency to inform the public about the

agency’s approach to sharing information with immigration enforcement agencies.

       33.         Defendant SSA has effectively withheld the requested records.

       34.         Defendant SSA’s failure to provide these records violates FOIA.

       35.         Plaintiff CEDC is therefore entitled to declaratory and injunctive relief requiring

Defendant SSA to promptly produce the requested agreements.




                                          REQUESTED RELIEF
   Plaintiff CEDC therefore respectfully requests that this Court:

       (1) Order Defendants IRS and SSA to produce the requested records without redaction;

             and

       (2) Award Plaintiff CEDC the costs of this proceeding, including reasonable attorneys’

             fees and other litigation costs reasonably incurred in this action, pursuant to 5 U.S.C.

             § 552(a)(4)(E); and

       (3) Grant Plaintiff CEDC such other relief as the Court deems just and proper.

Dated: July 8, 2025

                                                                 /s Luz Arevalo
                                                                 /s Angela Divaris
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                                       vice forthcoming




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